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  13 Tianhai Lace (Guangdong) Ltd., and
     Tianhai Lace USA Inc.
  14
  15                             UNITED STATES DISTRICT COURT
  16               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 TIANHAI LACE CO. LTD., TIANHAI                     Case No. 2:22-cv-06106-JLS-MRWx
     LACE (GUANGDONG) LTD. and
  19 TIANHAI LACE USA INC.,                             SECOND AMENDED COMPLAINT
                                                        FOR:
  20                    Plaintiffs,
                                                        COPYRIGHT INFRINGEMENT
  21               v.                                   UNDER THE COPYRIGHT ACT 17
                                                        U.S.C. § 101 ET SEQ.
  22 ZOETOP BUSINESS CO. LIMITED
     d/b/a SHEIN; SHEIN DISTRIBUTION                    DEMAND FOR JURY TRIAL
  23 CORPORATION; FASHION
  24 MARKETING AND
     MERCHANDISING GROUP, INC.;
  25 ROADGET BUSINESS PTE., LTD.;
     STYLE LINK LOGISTICS, LLC; and
  26 DOES 1-10,
  27            Defendants.
  28

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   1               Plaintiffs, Tianhai Lace Co., Ltd., Tianhai Lace (Guangdong) Ltd., and
   2 Tianhai Lace USA Inc. (collectively, “Tianhai”), by their undersigned attorneys,
   3 allege as follows, upon actual knowledge with respect to themselves and their own
   4 acts, and upon information and belief as to all other matters:
   5                                   NATURE OF THE ACTION
   6               1.    This is a civil action for copyright infringement under federal law.
   7               2.    Tianhai brings this action seeking injunctive relief, lost profits, actual
   8 damages (or statutory damages), and attorneys’ fees and costs arising out of
   9 Defendants’ willful infringement of Tianhai’s exclusive rights in lace designs.
  10                                            PLAINTIFFS
  11               3.    Plaintiff Tianhai Lace Co., Ltd. is a limited company of China with a
  12 principal address at Room 1120, No. 9 Linhe West Road, Tianhe District,
  13 Guangzhou City, Guangdong Province, China.
  14               4.    Plaintiff Tianhai Lace (Guangdong) Ltd. is a limited company of China
  15 with a principal address at No. 213 Lianuang Road, Economy and Technology
  16 Development District, Guangzhou City, Guangdong Province, China.
  17               5.    Plaintiff Tianhai Lace USA Inc. is a corporation of New York with a
  18 principal address at 152 Madison Avenue, Room 1103, New York, NY 10016.
  19                                           DEFENDANTS
  20               6.    Defendant Zoetop Business Co. Limited d/b/a SHEIN (“Zoetop”) is a
  21 limited company of Hong Kong having places of business at least at Room 11-12,
  22 2/F, Hong Leong Plaza (Phase 1), No. 33 Lok Yip Road, Fanling Hong Kong, and
  23 Datang Town Sanshui Industrial Park, Fo Shan, Guangdong 528100, China.
  24               7.    Defendant SHEIN Distribution Corporation (“SHEIN”) is a Delaware
  25 corporation having its principal place of business at 345 N. Baldwin Park Blvd.,
  26 City of Industry, CA 91746.
  27               8.    Defendant Fashion Marketing and Merchandising Group, Inc.
  28 (“FMMG”), formerly incorporated as SHEIN Fashion Group, Inc., is a California

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   1 corporation having its principal place of business at 345 N. Baldwin Park Blvd.,
   2 City of Industry, CA 91746.
   3               9.    Defendant Roadget Business Pte. Ltd. (“Roadget”) is a company of
   4 Singapore with an incorporation address at 112 ROBINSON ROAD, #03-01,
   5 ROBINSON 112, Singapore 068902. Upon information and belief, Luo Ying is a
   6 registered officer of Roadget and an agent, employee or other representative of
   7 SHEIN.
   8               10.   Defendant Style Link Logistics, LLC (“Style Link”) is a limited
   9 liability company of Indiana, which is registered to do business in California with
  10 the address of 345 N. Baldwin Park Blvd., City of Industry, CA 91746.
  11               11.   Upon information and belief, Tianhai alleges that Defendants Does 1-
  12 10 (the “Does”) are unknown persons, firms, entities, or corporations that, directly
  13 or indirectly, jointly or severally, willfully undertook, performed, participated in, or
  14 engaged in various illegal, unauthorized, and wrongful actions as set forth herein on
  15 behalf of or in conspiracy with Zoetop, SHEIN, FMMG, Roadget, and/or Style Link
  16 against Tianhai and/or the public, should be enjoined from engaging in such actions,
  17 and are liable to Tianhai for damages. The Does’ true identities, locations, and
  18 residences are currently unknown to Tianhai because, in perpetrating their illegal,
  19 unauthorized, and wrongful acts, the Does have intentionally hidden their identities
  20 to evade detection.
  21                                  JURISDICTION AND VENUE
  22               12.   This is a civil action for injunctive relief and damages for copyright
  23 infringement under the Copyright Act, 17 U.S.C. § 101 et seq.
  24               13.   This Court has subject matter jurisdiction over this action pursuant to
  25 28 U.S.C. §§ 1331 and 1338(a).
  26               14.   This Court has personal jurisdiction over Defendants SHEIN, FMMG,
  27 and Does because Defendants SHEIN and FMMG have principal places of business
  28 in this District (345 N. Baldwin Park Blvd., City of Industry, CA 91746), and

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   1 Defendants SHEIN, FMMG, and Does conduct continuous and systematic business
   2 in California, including by maintaining places of business and renting a storage
   3 facility to sell and transport the infringing products complained of in and to the
   4 Central District of California. The effect of SHEIN’s, FMMG’s, and Does actions
   5 arises in multiple districts, including the ports of Los Angeles and Long Beach in
   6 the Central District, and a substantial portion of the events giving rise to the claims
   7 herein occurred within this District.
   8               15.   This Court has personal jurisdiction over Defendants Zoetop and Does
   9 because Defendants Zoetop and Does sold products complained of into the U.S.
  10 and/or solicitated a significant amount of businesses from the U.S. under the
  11 trademark SHEIN, including within this District.
  12               16.   This Court has personal jurisdiction over Defendant Roadget because
  13 Defendant Roadget operates websites and mobile applications to purposefully solicit
  14 business from the U.S., including within this District, and offers, sells, imports, and
  15 transports a substantial amount of products, including the infringing products
  16 complained of, to the U.S., including in and through this District.
  17               17.   This Court has personal jurisdiction over Defendant Style Link because
  18 Defendant Style Link has a principal place of business in this District, and imports
  19 or transports products, including the infringing products complained of to the U.S.,
  20 including in and through this District, for Defendants Roadget and SHEIN.
  21               18.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 and
  22 1400(a), including because the acts of infringement complained of occurred in this
  23 District; Defendants are domiciled in this District; Defendants’ officers and agents
  24 can be found in this District; Defendants’ unlawful actions were directed from or
  25 through computers in this District; and Tianhai has been harmed by Defendants’
  26 conduct in this District.
  27               19.   Tianhai was previously forced to sue Defendants Zoetop and SHEIN in
  28 this Court for infringement of certain Tianhai copyrighted laces and unfair

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   1 competition, and those Defendants submitted to the jurisdiction and venue of this
   2 Court in that action. The parties later entered into a September 27, 2021 Settlement
   3 Agreement regarding Defendants’ infringement of those Tianhai copyrighted laces.
   4 As set forth below, the above Defendants and their related entities (Defendants
   5 FMMG, Roadget, and Style Link) are now engaged in another knowing, willful and
   6 pervasive copyright infringement scheme of additional Tianhai copyrighted laces for
   7 which Tianhai is entitled to the relief requested below.
   8                              TIANHAI AND ITS LACE DESIGNS
   9               20.   Since 1988, Tianhai has developed and sold original lace designs,
  10 which constitute copyrightable subject matter under 17 U.S.C. § 101 et seq.
  11               21.   Tianhai owns valid and subsisting U.S. Copyright Office Registrations
  12 for its lace designs, including Registration Nos. VA 2-292-705, VA 2-292-703, VA
  13 1-847-129, VA 1-899-335, VA 1-962-454, VA 1-919-834, VA 2-094-233, VA 1-
  14 829-368，VA1-977-168, VA 1-791-176, VA 2-001-929, VA 2-006-175, VA 1-967-
  15 086, VA 1-791-259, VA 2-292-697, VA 1-886-767, VA 1-967-083, VA 1-971-360,
  16 VA 1-817-862, VA 2-292-701, VA 1-977-161, VA 2-080-794, VA 1-977-358, VA
  17 1-975-235, VA 1-746-489, VA 1-974-881, VA 1-719-661, VA 2-039-301, VA 1-
  18 962-508, and VA 1-921-664 (the “U.S. Registered Copyrights”). True and correct
  19 copies of Tianhai registrations of the U.S. Registered Copyrights are attached as
  20 Exhibit I.
  21               22.   Tianhai’s copyright registrations for its lace designs predate
  22 Defendants’ infringement.
  23               23.   Tianhai’s lace designs are also registered with the National Institute of
  24 Industrial Property of France.
  25               24.   For more than thirty (30) years, Tianhai has designed, manufactured,
  26 and sold decorative laces. Since their creation in 1988, Tianhai’s lace designs have
  27 enjoyed tremendous commercial success in the fashion industry.
  28               25.   Today, Tianhai owns 22,500 lace designs, releases thousands of new

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   1 lace designs annually, and sells laces in 30 countries. It has been recognized as one
   2 of the best lace designers in the world.
   3               26.   In 2022, Tianhai was awarded the Interfilière Connect by Interfilière
   4 New York. See https://en.the-lingerie-place.com/brand/tianhai-lace/.
   5               27.   In the same year, Tianhai was awarded the Young Label Awards by
   6 Interfilière Shanghai.
   7               28.   In July 2022, Curve Los Angeles announced that Tianhai had been
   8 chosen for its New York show between July 31 and August 2, 2022 for its new lace
   9 designs.
  10               29.   In 2017, Tianhai was awarded a Femmy Award by the Under Fashion
  11 Club as one of the leading fashion sustainability contributors in the United States.
  12               30.   The Knitting Industry has awarded Tianhai a Skin Friendly Declaration
  13 for its lace collection.
  14               31.   Tianhai’s laces are trusted by knowledgeable consumers not only
  15 because of their best-in-class quality, but also for the care and expertise that Tianhai
  16 has taken in designing the lace patterns and supplying the laces for many well-
  17 known fashion brands, including Versace, Victoria’s Secret, Zara, H&M, BCBG,
  18 Wacoal, and Marks & Spencer.
  19                       DEFENDANTS AND THEIR WRONGFUL ACTS
  20               32.   Tianhai recently discovered that Defendants have systematically and
  21 without authorization reproduced, displayed, distributed, created derivative works
  22 of, and otherwise infringed Tianhai’s lace designs and offered for sale and sold
  23 those infringing copies to third parties.
  24               33.   The infringing products complained of in this action that were made
  25 available by all Defendants are virtually identical to, or at least substantially similar
  26 to, Tianhai’s copyrighted lace designs, as shown in the chart below:
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   1       Tianhai’s Registered      Defendants’ New Infringement          Tianhai’s
               Lace Design                    Activities                   Copyright
   2
                                                                          Registration
   3                                                                     VA 2-292-705
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  22                                                                     VA 1-962-454
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   1                                                                VA 1-919-834
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  14                                                                VA 1-829-368
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  11                                                                VA 1-791-176
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  22                                                               VA 2-292-697
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   1                                                               VA 1-977-161
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                                                                   VA 2-080-794
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  21                                                               VA2-304-119
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   1                                                               VA 1-746-489
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  12                                                               VA 1-962-508
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  18                                                               VA 2-039-301
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   1                                                                             VA 1-921-664
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   9               True and accurate photos of the pirated products received are attached as
  10 Exhibit L.
  11      34. As shown above, between February 2022 and August 2022, Tianhai’s
  12 investigators placed multiple orders for fifty-two (52) products from
  13 www.shein.com and from Defendants’ SHEIN-branded mobile applications
  14 (collectively, the “New Infringement Activities”). Each of these products consisted
  15 of or featured exact or nearly identical copies of Tianhai’s lace designs. None of the
  16 laces were genuine Tianhai products.
  17       35. Tianhai’s test purchases from www.shein.com and the SHEIN-branded
  18 mobile applications of clothing products that contained the infringing lace designs
  19 were marketed with FMMG, imported by Roadget, forwarded to a storage facility
  20 rented by SHEIN in City of Industry, using the business address at 345 N. Baldwin
  21 Park Blvd., City of Industry, CA 91746 that is also used by Defendants SHEIN and
  22 FMMG with the State of California, and ultimately were packaged, processed, and
  23 shipped to the purchaser by Defendant Style Link.
  24               36.   Previously on June 29, 2021, Tianhai filed Case No. 2:21-cv-05295
  25 with this Court against Defendants Zoetop and SHEIN for Defendants’ unauthorized
  26 use of nineteen (19) Tianhai copyrighted lace designs on twenty-six (26) products.
  27               37.   Following settlement, on October 11, 2021, the Parties stipulated to
  28 dismiss Case No. 2:21-cv-05295 pursuant to F. R. Civ. P. 41 (a)(1)(A)(ii).

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   1               38.   In February 2022, less than half a year after the dismissal, Tianhai
   2 discovered new products offered for sale or sold by Defendants through their
   3 website at www.shein.com and mobile applications that infringed Tianhai’s
   4 copyrights.
   5               39.   Tianhai immediately notified Defendants in writing, demanding that
   6 Defendants immediately cease its New Infringement Activities. A true and accurate
   7 copy of the email notice and its English translation is attached as Exhibit M.
   8               40.   Notably, all of Defendants’ New Infringement Activities relate to new
   9 products that infringed Tianhai’s other lace designs not identified in Case No. 2:21-
  10 cv-05295.
  11               41.   Despite Tianhai’s multiple attempts to resolve the matter over a period
  12 of multiple months, Defendants never responded.
  13               42.   From February to August 2022, Tianhai continued to discover that
  14 Defendants were continuing their New Infringing Activities.
  15               43.   Defendants continued marketing, advertising, and selling clothes
  16 bearing unauthorized copies of Tianhai’s laces that were identified above in this
  17 complaint.
  18               44.   Tianhai’s investigations of these products sold by Defendants again
  19 established that none of the laces used by Defendants are genuine Tianhai laces.
  20               45.   As of today, Defendants have not taken any action to resolve or address
  21 the New Infringement Activities with Tianhai, or to respond to Tianhai in any way.
  22               46.   All of Defendants’ infringement has at all times been knowing,
  23 intentional and willful.
  24               47.   Defendants have attempted to hide their continuing piracy of Tianhai’s
  25 lace designs by constantly changing URLs on which their infringing products are
  26 sold, by using different street addresses, and by incorporating different entities
  27 (including the new entity Roadget that is incorporated in Singapore but operating in
  28 China as shown on its product shipping labels). In short, Defendants have been

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   1 using a recurring “whack-a-mole” game strategy to avoid Tianhai’s enforcement
   2 efforts.
   3      DEFENDANTS AND THEIR COPYRIGHT INFRINGEMENT SCHEME
   4               48.   Defendants Zoetop, SHEIN, FMMG, Roadget, and Style Link actively
   5 engaged in a continuous, knowing, willful, and pervasive scheme of infringement of
   6 Plaintiffs’ copyrighted lace designs (the “Copyright Infringement Scheme”).
   7               49.   Defendant Zoetop registered SHEIN trademarks with the United States
   8 Patent and Trademark Office for the other Defendants to use.
   9               50.   Under that license from Defendant Zoetop, Defendant SHEIN operated
  10 the website at www.shein.com, and Defendant Roadget operated the website
  11 www.us.shein.com and the SHEIN-branded mobile applications, from which
  12 Plaintiffs test purchased the infringing products containing Plaintiffs’ copyrighted
  13 lace designs.
  14               51.   Defendant Roadget routinely imported and shipped these infringing
  15 products to Defendant Style Link.
  16               52.   Upon information and belief, Defendant Style Link performed logistics,
  17 packaging, distributing and order fulfillment tasks with respect to the infringing
  18 products for Defendants SHEIN and Roadget.
  19               53.   FMMG functioned as the business coordinator, maintaining a business
  20 address with the State of California and U.S. Customs, for importation of the
  21 infringing products through ports in this District. It also provided digital marketing
  22 and advertising services to Defendant SHEIN.
  23               54.   All Defendants had, and continue to have, access to Tianhai’s lace
  24 designs because, among other things, images of the Tianhai lace designs are
  25 available on Tianhai’s website and in its catalogs, through Defendants’ prior
  26 business communications with Plaintiffs, and because Tianhai’s laces are used by
  27 numerous clothing manufacturers that sell finished products to the public.
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   1                                     DEFENDANT ZOETOP
   2               55.   As part of the Copyright Infringement Scheme, Defendant Zoetop
   3 licensed use of its registered trademarks to Defendants SHEIN and Roadget for use
   4 in the operation of the websites www.shein.com and www.us.shein.com, as well as
   5 the SHEIN-branded mobile applications, from which Plaintiffs test purchased the
   6 infringing products.
   7               56.   Specifically, Defendant Zoetop owned trademark applications and
   8 registrations for the mark SHEIN in connection with clothing, textiles, accessories,
   9 jewelry, bags, and online retail services with the United States Patent and
  10 Trademark Office, namely Registration Nos. 5256688, 5880290, 5840545, 5893348,
  11 5893349, 5893350, 5909109, 6166048, 6166049, 6181709, 6224013, 6224084, and
  12 Application Serial Nos. 87857183, 87857188, 88107563, 88107571, 88809710,
  13 88400811, under the same address at Room 11-12, 2/F, Hong Leong Plaza (Phase
  14 1), No. 33 Lok Yip Road, Fanling Hong Kong.
  15               57.   All the aforementioned applications and registrations, with the
  16 exception of U.S. App. No. 88809710, have been assigned to Defendant Roadget.
  17               58.   Defendant Zoetop also sells and/or sold apparel and accessories in U.S.
  18 commerce under the mark SHEIN, which incorporates and/or incorporated Tianhai’s
  19 copyrighted laces.
  20               59.   On October 5, 2022, Defendant SHEIN and Defendant Zoetop signed
  21 an Assurance of Discontinuance (“Assurance”) with the State of New York related
  22 to Defendant Zoetop’s improper handling of a data breach that compromised the
  23 personal information of its customers. Exhibit S.
  24               60.   The Assurance indicates that Defendant SHEIN and Zoetop were
  25 required to pay the State of New York $1.9 million in penalties and costs due to
  26 Zoetop’s improper handling of customer information. Exhibit AH.
  27               61.   All communications related to the Assurance as to Defendants SHEIN
  28 and Zoetop are to be sent to Defendant SHEIN’s General Counsel.

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   1               62.   The Assurance was signed by Valerie Ho, corporate secretary and
   2 general counsel of Defendant SHEIN.
   3               63.   The Assurance indicates that Defendant SHEIN is liable for the debts
   4 of Defendant Zoetop. Exhibit AH.
   5               64.   Upon information and belief, Defendant Zoetop shares the same
   6 corporate employees as Defendant SHEIN.
   7               65.   Upon information and belief, Defendant Zoetop shares the identical
   8 equitable ownership as Defendant SHEIN and the other Defendants in this case.
   9               66.   Upon information and belief, Defendant Zoetop has commingled funds
  10 with Defendant SHEIN and other Defendants in this case.
  11               67.   Upon information and belief, Defendant Zoetop has not observed
  12 corporate formalities to distinguish itself as an independent entity.
  13               68.   If the acts of the Defendant SHEIN and the other Defendants are
  14 attributed to them alone and not also Zoetop, an inequitable result will follow.
  15                                      DEFENDANT SHEIN
  16               69.   Defendant SHEIN participated in the Copyright Infringement Scheme
  17 as a manufacturer and distributor of infringing products featuring Tianhai’s lace
  18 designs. Defendant SHEIN also functioned as the website operator that enabled the
  19 sale of infringing products featuring Tianhai’s lace designs.
  20               70.   In particular, Defendant SHEIN uses the website at www.shein.com
  21 and “any mobile applications” to “sell products” to U.S. consumers, as well as to
  22 “collect payment and process” returns by U.S. consumers. These products include
  23 the infringing products that were test purchased by Plaintiffs’ investigators. A true
  24 and correct copy of the SHEIN U.S. Terms and Conditions is attached as Exhibit N.
  25               71.   Defendant SHEIN uses the websites at www.shein.com and
  26 www.us.shein.com, accounts on e-commerce platforms including
  27 www.amazon.com, and mobile applications on Google Play and App Store to
  28 advertise, promote, and sell apparel, accessories, pet products, stationary,

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   1 electronics, and home decorations.
   2               72.   A true and correct copy of Customs database details through the ports
   3 of Los Angeles and Long Beach, California and a graphic chart outlining the
   4 relationships between Defendants Style Link, Roadget, and SHEIN from
   5 ImportGenius is attached as Exhibit R. Notably, Exhibit R shows that Defendant
   6 SHEIN participated in the shipment of a variety of garments that, upon information
   7 and belief, included infringing products featuring Tianhai’s lace designs.
   8               73.   Further, Exhibit T shows that Defendant SHEIN consigned numerous
   9 shipments of garments that were shipped by Defendant Roadget. Upon information
  10 and belief, these shipments included infringing products featuring Tianhai’s lace
  11 designs.
  12               74.   A search on the California Secretary of State website also confirms that
  13 George Chiao is the Chief Executive Officer of Defendant Shein Distribution
  14 Corporation, as demonstrated by Statement of Information, a true and correct copy
  15 of which is attached as Exhibit D. George Chiao has also been identified as U.S.
  16 President of Defendant SHEIN. Exhibit AI.
  17               75.   George Chiao signed SHEIN’s Statement and Designation by Foreign
  18 Corporation filed with the State of California on May 25, 2021, showing the same
  19 address of 345 N. Baldwin Park Blvd., City of Industry, CA 91746. In this filing,
  20 George Chiao represented that he is “a corporate officer and [is] authorized to sign
  21 on behalf of the foreign corporation” SHEIN, a true and correct copy of which is
  22 attached as Exhibit E.
  23               76.   As noted above, on October 5, 2022, Defendant SHEIN and Defendant
  24 Zoetop signed an Assurance with the State of New York related to the improper
  25 handling of a data breach that compromised the personal information of its
  26 customers. Exhibit S.
  27               77.   The Assurance indicates that Defendant SHEIN and Zoetop were
  28 required to pay the State of New York $1.9 million in penalties and costs. The

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   1 Assurance indicates that Defendant SHEIN is liable for the debts of Defendant
   2 Zoetop. Exhibit AH.
   3               78.   Further, the LinkedIn page of Jasmine Zhao Johnson identifies
   4 Defendant SHEIN as her most recent employer. She was previously employed by
   5 Shein and Defendant FMMG. Upon information and belief, Jasmine Zhao Johnson
   6 is an employee of Defendants SHEIN and FMMG. Exhibit U.
   7                                      DEFENDANT FMMG
   8               79.   Tianhai’s investigations showed that FMMG’s role in the Copyright
   9 Infringement Scheme was to provide digital marketing and advertising services to
  10 Defendant SHEIN for the infringing products containing Tianhai’s copyrighted lace
  11 designs complained of in this action.
  12               80.   Specifically, FMMG describes itself as a “complete digital marketing
  13 agency based in Los Angeles” with a website at www.fmmg.us on its LinkedIn
  14 webpage at https://www.linkedin.com/company/fashion-marketing-merchandising-
  15 group-inc/about/. A true and correct printout of FMMG’s LinkedIn “About”
  16 webpage is attached as Exhibit V.
  17               81.   FMMG’s LinkedIn webpage states that “We help you create moments
  18 that inspire and innovate through effective marketing campaigns, digital strategy,
  19 and full-fledged branding experiences.” Exhibit V.
  20               82.   Internet archives showed that FMMG’s website at www.fmmg.us listed
  21 “SHEIN” as one of its clients for which FMMG provided branding and marketing
  22 services on and before December 28, 2021:
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  23 (https://web.archive.org/web/20211228161839/https://www.fmmg.us/). A true and
  24 correct printout of the Internet archive of www.fmmg.us is attached as Exhibit W.
  25               83.   All of the brands referenced on FMMG’s web site (e.g., SHEIN,
  26 ROMWE, CUCCOO, and SOULFEEL) are owned or used by Defendant SHEIN or
  27 other Defendants in this case. On information and belief FMMG only provided
  28 services to other Defendants or companies controlled by other Defendants in this

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   1 case.
   2               84.   Tianhai’s investigations showed that Defendant FMMG syndicated
   3 paid content through www.google.com and GMAIL to advertise, market, and
   4 promote that content, which contained images of the infringing products complained
   5 of in this action, through digital newsletters and social media accounts for other
   6 Defendants, including Defendant SHEIN. True and correct copies of screenshots of
   7 Defendants’ social media accounts are attached as Exhibit J.
   8               85.   Defendants have made available a category of apparel products
   9 identified as “Lace” on their website. True and correct copies of screenshots of
  10 Defendants’ webpages of “Lace” are attached as Exhibit K.
  11               86.   FMMG knew that the SHEIN-branded products being marketed were
  12 infringing because it operated out of the same business address at 345 N. Baldwin
  13 Park Blvd., City of Industry, CA 91746 and had the same officers and employees as
  14 Defendant SHEIN that directly manufactured the infringing products.
  15               87.   FMMG is directly liable as an infringer because it is a participant in the
  16 chain of promotion and distribution for the infringing products complained of in this
  17 action.
  18               88.   Upon information and belief FMMG was at all relevant times an alter
  19 ego of one or more of its co-Defendants SHEIN, Zoetop, Roadget, and Style Link
  20 with a unity of interest and ownership such that the separate personalities of the
  21 corporations no longer exist.
  22               89.   FMMG was originally incorporated as Shein Fashion Group, Inc. with
  23 the State of California on December 22, 2015, as demonstrated by Articles of
  24 Incorporation of Shein Fashion Group, Inc., a true and correct copy of which is
  25 attached as Exhibit A.
  26               90.   On November 5, 2019, FMMG removed the word “Shein” from its
  27 company name in a filing with the State of California, as demonstrated by Secretary
  28 of State Certificate of Amendment of Articles of Incorporation, a true and correct

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   1 copy of which is attached as Exhibit B.
   2               91.   Upon information and belief, FMMG previously held itself out as
   3 “SHEIN” to the public.
   4               92.   Upon information and belief, FMMG only marketed the brands of other
   5 Defendants in this case and thus has an identity of interests with Defendant SHEIN
   6 and the other Defendants.
   7               93.   On December 9, 2021, FMMG disclosed its address of 345 N. Baldwin
   8 Park Blvd., City of Industry, CA 91746 as demonstrated by Statement of
   9 Information, a true and correct copy of which is attached as Exhibit C. Defendant
  10 FMMG shares this address with Defendant’s SHEIN and Style Link.
  11               94.   George Chiao is an employee of FMMG. Exhibit X. In his LinkedIn
  12 profile, George Chiao identifies himself as an employee of Defendant SHEIN.
  13 Exhibit Y. George Chiao is the Chief Executive Officer of Defendant SHEIN.
  14 Exhibit D.
  15               95.   Upon information and belief, Valerie Ho, corporate secretary and
  16 general counsel of Defendant SHEIN, is an officer, member, or employee of
  17 Defendant FMMG.
  18               96.   Further, the LinkedIn page of Jasmine Zhao Johnson identifies
  19 Defendant SHEIN as her most recent employer. She was previously employed by
  20 Shein and Defendant FMMG. Upon information and belief, Jasmine Zhao Johnson
  21 is an employee of Defendants FMMG and SHEIN. Exhibit U.
  22               97.   Defendant FMMG shares the same corporate employees as Defendant
  23 SHEIN.
  24               98.   Upon information and belief, Defendant FMMG shares the identical
  25 equitable ownership as Defendant SHEIN and the other Defendants in this case.
  26               99.   Upon information and belief, Defendant FMMG has commingled funds
  27 with Defendant SHEIN and other Defendants in this case.
  28               100. Upon information and belief, Defendant FMMG has not observed

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   1 corporate formalities to distinguish itself as an independent entity.
   2               101. If the acts of the Defendant SHEIN and the other Defendants are
   3 attributed to them alone and not also FMMG, an inequitable result will follow.
   4               102. The principals, Defendants Zoetop, SHEIN, and Roadget, are liable for
   5 the acts committed by Defendant FMMG while in the scope of the agent's authority.
   6               103. Defendant FMMG was employed as a business coordinator and to
   7 provide digital marketing and advertising services with respect to the infringing
   8 products.
   9               104. Defendant FMMG’s infringing acts occurred at authorized places and
  10 times during its employment by the other co-Defendants Zoetop, SHEIN, and
  11 Roadget.
  12               105. Defendant FMMG’s infringing acts were intended to assist its
  13 principals.
  14               106. Defendant FMMG’s infringing acts were anticipated by or directed by
  15 its principals.
  16                                    DEFENDANT ROADGET
  17               107. Defendant Roadget participated in the Copyright Infringement Scheme
  18 by developing mobile applications that allowed for the purchase of infringing
  19 products that incorporated Tianhai’s copyrighted laces. Defendant Roadget also
  20 shipped infringing products that incorporated Tianhai’s copyrighted laces.
  21               108. Defendant Roadget is listed as the developer of the mobile application
  22 “SHEIN-Fashion Shipping Online” on Google Play at
  23 https://play.google.com/store/apps/details?id=com.zzkko&hl=en and the mobile
  24 application “SHEIN-Online Fashion” on App Store at
  25 https://itunes.apple.com/us/app/yub-streetwear-fashion-
  26 shopping/id878577184?mt=8, a true and correct copy of which is attached as
  27 Exhibit F.
  28               109. Defendant Roadget owns and operates the website available at

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   1 www.us.shein.com, the “SHEIN-Fashion Shipping Online” mobile application
   2 offered on Google Play, and the “SHEIN-Online Fashion” mobile application
   3 offered on App Store. See Exhibit N.
   4               110. Tianhai’s investigations revealed that Defendants sold products that
   5 incorporated Tianhai’s copyrighted laces off the mobile applications “SHEIN-
   6 Fashion Shipping Online” on Google Play and “SHEIN-Online Fashion” on App
   7 Store. A true and correct copy of Tianhai’s test purchase confirmation is attached as
   8 Exhibit G.
   9               111. Exhibit T shows that Defendant Roadget facilitated numerous
  10 shipments of garments. These shipments were consigned by Defendant SHEIN.
  11 Upon information and belief, these shipments included infringing products featuring
  12 Tianhai’s lace designs.
  13               112. Defendant Roadget shipped the products that incorporated Tianhai’s
  14 copyrighted laces from China to Plaintiffs’ investigators. These products were
  15 forwarded through a warehouse or storage facility in this District that is rented by
  16 Defendant SHEIN and operated by co-Defendant Style Link:
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   7               A true and correct copy of the shipping labels used on products purchased by
   8 Tianhai’s investigators is attached as Exhibits H and O.
   9               113. As discussed above, a true and correct copy of U.S. Customs database
  10 details through the ports of Los Angeles and Long Beach, California and a graphic
  11 chart outlining the relationships between Defendants Style Link, Roadget, and
  12 SHEIN from ImportGenius is attached as Exhibit R. Notably, Exhibit R shows
  13 Defendant Roadget was involved in the shipment of transparent SHEIN plastic bags
  14 and a variety of garments that, upon information and belief, included infringing
  15 products featuring Tianhai’s lace designs.
  16               114. Between November 28, 2021 and November 18, 2022 alone, Defendant
  17 Roadget shipped eighty-one (81) shipments of garments and accessories, including
  18 garments that infringe Tianhai’s copyrighted lace designs, from China to Defendant
  19 SHEIN in Los Angeles, California through the ports of Los Angeles and Long
  20 Beach in this District. A true and correct copy of these importation and shipment
  21 details is attached as Exhibit P. The total weight of these imported products
  22 amounts to 1,694,698 pounds.
  23               115. Upon information and belief, Roadget routinely ships products,
  24 including the infringing products, to the U.S., including through ports located in this
  25 District.
  26                                  DEFENDANT STYLE LINK
  27               116. Defendant Style Link participated in the Copyright Infringement
  28 Scheme by providing packaging, distribution, fulfillment, and other logistics

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   1 services for the manufacturer of the infringing products, Defendant SHEIN. Indeed,
   2 Style Link’s formal name includes the term “logistics” which identifies its role with
   3 respect to the other Defendants. “Logistics is the management of the movement of
   4 resources, goods, and services from the point of origin to the point of consumption
   5 in order to meet customer needs.” Exhibit Z.
   6               117. Defendant Style Link has posted numerous job advertisements that cast
   7 light on its role in the Copyright Infringement Scheme. Exhibit AA. “Typical
   8 responsibilities [of these positions] include restocking shelves, processing and
   9 packing orders and ensuring orders are shipped in a timely manner.” Additional
  10 duties include “preparing orders for shipment,” “receiving, processing, labeling, and
  11 storing incoming inventory,” and “inventory organization and maintenance.”
  12 Defendant Style Link is actively involved in the distribution of infringing products
  13 by shipping, receiving, processing, storing, and warehousing of goods for Defendant
  14 SHEIN.
  15               118. Defendant Style Link also imports products to the U.S. for Defendant
  16 Roadget and Defendant SHEIN. As discussed above, a true and correct copy of
  17 customs database details through the ports of Los Angeles and Long Beach,
  18 California and a graphic chart outlining the relationships between Defendants Style
  19 Link, Roadget, and SHEIN from ImportGenius is attached as Exhibit R.
  20               119. Exhibit R demonstrates that Defendant Style Link imported
  21 transparent SHEIN plastic bags.
  22               120. Defendants FMMG and Style Link also received packaging from
  23 Defendant Zoetop. Exhibit AB.
  24               121. Defendant SHEIN is well-known for its excessive use of transparent
  25 plastic bag packaging. Exhibit AC. Notably, “[e]ach order from Shein arrives in a
  26 clear plastic bag with “SHEIN” written down the side and a zipper across the top.”
  27 Exhibit AD.
  28               122. Examples of these bags from test purchases made as part of Tianhai’s

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   1 investigations are shown in Exhibit L, pp. 261, 263, 279, 281, 289, 291, 298, 300,
   2 315, 317, 328, 330, 337, 339, 369, 371-72, 374, 383, 385, 392-94, 396. The SHEIN
   3 bags were filled by Style Link with the infringing copyrighted lace products.
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  13 Exhibit L, p. 262, 292, 299.
  14               123. The California Secretary of State’s website indicates that Defendant
  15 Style Link Logistics LLC’s mailing address is 347 S. Stimson Ave., City of
  16 Industry, CA 91744. Exhibit AE. Test purchases made as part of Tianhai’s
  17 investigations show packages listing Defendant Style Link’s address as the sender’s
  18 address for the infringing products.
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  14 Exhibits O and AF.
  15               124. 347 S. Stimson Ave., City of Industry, CA 91744 is the address of a
  16 warehouse or storage facility that, upon information and belief, is rented by
  17 Defendant SHEIN. Exhibit O. As noted above, infringing products incorporating
  18 Tianhai’s copyrighted lace designs purchased by Tianhai’s investigators were
  19 shipped by Defendant Roadget through a facility at this same address.
  20               125. In light of the above and based upon information and belief, Defendant
  21 Style Link receives the infringing garments shipped by Defendant Roadget and
  22 imported by Defendant SHEIN and then packages them for sale and distribution
  23 using the transparent SHEIN plastic bags that Defendant Style Link has imported.
  24 Subsequently, Defendant Style Link processes the orders for the infringing products
  25 and ships them to the customers.
  26               126. Defendant Style Link knew that the SHEIN-branded products being
  27 marketed were infringing because it operated out of the same business address at
  28 345 N. Baldwin Park Blvd., City of Industry, CA 91746 and had the same officers

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   1 and employees as Defendant SHEIN that directly manufactured the infringing
   2 products.
   3               127. Therefore, Defendant Style Link is directly liable as an infringer
   4 because it is a participant in the chain of distribution for the infringing products.
   5               128. Upon information and belief, Style Link is an alter ego of Defendant
   6 SHEIN and perhaps other co-Defendants Zoetop, FMMG, and Roadget, with a unity
   7 of interest and ownership such that the separate personalities of the corporations no
   8 longer exist.
   9               129. A true and correct copy of Defendant Style Link’s Application to
  10 Register a Foreign Limited Liability Company (LLC) filed with the State of
  11 California on May 25, 2021 is attached as Exhibit Q. It lists Defendant Style
  12 Link’s address as 345 N. Baldwin Park Blvd., City of Industry, CA 91746. This
  13 address is identical to the addresses of and listed with the State of California by
  14 Defendants SHEIN and FMMG. Defendant Style Link’s Application to Register a
  15 Foreign Limited Liability Company (LLC) was signed by George Chiao under
  16 penalty of perjury that he was authorized to sign on behalf of Defendant Style Link.
  17               130. A true and correct copy of Defendant Style Link’s Certificate of
  18 Organization issued by the State of Indiana on April 15, 2021 is attached as Exhibit
  19 AG. It lists Defendant Style Link’s address as 345 N. Baldwin Park Blvd., City of
  20 Industry, CA 91746. This address is identical to the addresses of and listed with the
  21 State of California by Defendants SHEIN and FMMG. Defendant Style Link’s
  22 Articles of Incorporation were signed by George Chiao who is identified as the
  23 manager of Defendant Style Link.
  24               131. Upon information and belief, Valerie Ho is an officer, member, or
  25 employee of Defendant Style Link.
  26               132. Defendant Style Link shares the same corporate employees as
  27 Defendant SHEIN. George Chiao is the Chief Executive Officer of Defendant
  28 SHEIN. Valerie Ho is the secretary and general counsel of Defendant SHEIN.

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   1               133. Defendant Style Link shares the same corporate employees as
   2 Defendant FMMG. George Chiao is an employee of FMMG. Upon information and
   3 belief, Valerie Ho is an officer, member, or employee of Defendant FMMG .
   4               134. Defendant Style Link shares the same offices at 345 N. Baldwin Park
   5 Blvd., City of Industry, CA 91746 with Defendants SHEIN and FMMG.
   6               135. Defendant Style Link shares the same warehouse or storage facility at
   7 347 S. Stimson Ave., City of Industry, CA 91744 with Defendants SHEIN and
   8 Roadget.
   9               136. Each of Defendant Style Link’s job postings refer to it as “SHEIN dba
  10 Style Link Logistics.” The advertisements do not differentiate between Defendant
  11 Style Link and Defendant SHEIN when describing Defendant Style Link’s business
  12 and appear to hold Defendant Style Link as either being Defendant SHEIN or that it
  13 is actively controlled by Defendant SHEIN.
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  28 Exhibit AA.

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   1               137. These job postings indicate that Defendant Style Link serves as a mere
   2 conduit for Defendant SHEIN’s affairs. Specifically, it suggests that Defendant
   3 SHEIN is responsible for the financial affairs of Defendant Style Link, and that it
   4 actively controls the employment decisions of Defendant Style Link.
   5               138. Upon information and belief, Defendant Style Link has commingled
   6 funds with Defendant SHEIN.
   7               139. Upon information and believe, Defendant Style Link has not observed
   8 corporate formalities to distinguish itself as an independent entity.
   9               140. If the acts of Defendant SHEIN and the other Defendants are attributed
  10 to them alone and not also Style Link, an inequitable result will follow.
  11               141. The principals, Defendants Zoetop, SHEIN, and Roadget, are liable for
  12 the acts committed by Defendant Style Link while in the scope of the agent's
  13 authority.
  14               142. Defendant Style Link was employed to perform logistics, packaging,
  15 distributing, and order fulfillment tasks with respect to the infringing products.
  16               143. Defendant Style Link’s infringing acts occurred at authorized places
  17 and times during employment by the other co-Defendants Zoetop, SHEIN, and
  18 Roadget.
  19               144. Defendant Style Link’s infringing acts were intended to assist its
  20 principals.
  21               145. Defendant Style Link’s infringing acts were anticipated by or directed
  22 by its principals.
  23                                      INJURY TO TIANHAI
  24               146. Defendants’ willful and pervasive infringement of Tianhai’s lace
  25 designs, protected by the U.S. Registered Copyrights, has caused Tianhai to lose
  26 sales because Defendants did not purchase genuine Tianhai lace for use in their
  27 products.
  28               147. Defendants’ willful and pervasive infringement of Tianhai’s lace

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   1 designs, protected by the U.S. Registered Copyrights, has caused Tianhai to lose
   2 licensing income because Defendants are not authorized licensees, and paid no
   3 royalties or licensing fees for the right to reproduce Tianhai’s copyrighted designs.
   4               148. Defendants’ infringement of Tianhai’s lace designs has damaged and
   5 irreparably injured Tianhai and, if permitted to continue, will further damage and
   6 irreparably injure Tianhai.
   7                                      FIRST CLAIM FOR RELIEF
   8                           Copyright Infringement Under the Copyright Act
   9                                          17 U.S.C. § 101 et seq.
  10               149. Tianhai hereby re-alleges and incorporates by reference each of the
  11 foregoing paragraphs and other allegations set forth elsewhere in this Complaint as
  12 though fully set forth in this cause of action.
  13               150. At all relevant times, Tianhai has been the holder of the exclusive rights
  14 in its lace designs, which are subject to copyright protection in the United States, as
  15 evidenced by the U.S. Copyright Registrations.
  16               151. At all relevant times, Defendants had access to Tianhai’s lace designs.
  17               152. Defendants, without authorization, reproduced, distributed, displayed,
  18 created derivative works of, and otherwise infringed Tianhai’s lace designs as
  19 described herein in willful violation of Tianhai’s rights under the Copyright Act.
  20               153.   Each of the Defendants are jointly and severally liable for the damages
  21 suffered by Tianhai.
  22               154. At all relevant times, Tianhai’s actions have been willful and
  23 undertaken with full knowledge of, and/or reckless disregard for, Tianhai’s rights.
  24               155. Tianhai has suffered actual monetary damages and incurred significant
  25 costs as a direct and proximate result of Defendants’ direct and willful infringement
  26 of Tianhai’s copyrights.
  27                                      PRAYER FOR RELIEF
  28               WHEREFORE, Tianhai requests that this Court enter judgment in its favor on

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   1 each and every claim for relief set forth above and award it relief including, but not
   2 limited to, the following:
   3               A. A judgment declaring that Defendants’ unauthorized reproduction,
   4                  distribution, display, or creation of derivative works of Tianhai’s lace
   5                  designs constitutes copyright infringement, as detailed above;
   6               B. An award of statutory damages to Tianhai under 17 U.S.C. § 504(c) for
   7                  willful copyright infringement or, at Tianhai’s election, under 17 U.S.C.
   8                  § 504(b), an award of actual damages to Tianhai, Defendants’ profits
   9                  from infringement, and prejudgment and post-judgment interest, in an
  10                  amount to be determined at trial;
  11               C. An award to Tianhai of attorneys’ fees and costs under 17 U.S.C. § 505.
  12               D. An injunction enjoining Defendants and their subsidiaries, affiliates,
  13                  related companies, their officers, agents, employees, and all persons
  14                  acting in concert with them from any and all sale, reproduction,
  15                  distribution, display, or creation of derivative works substantially similar
  16                  to any Tianhai lace design;
  17               E. Pursuant to 17 U.S.C. § 503, an order for the impoundment and
  18                  destruction of all infringing products and materials, including but not
  19                  limited to accessories, laces, fabrics, textile products, labels, signs, prints,
  20                  packages, wrappers, receptacles, advertisements, and other material in
  21                  their possession, custody, or control bearing any design or pattern
  22                  identical or substantially similar to Tianhai’s copyright lace designs;
  23               F. A judgment that an asset freeze or constructive trust be imposed over all
  24                  monies and profits in Defendants’ possession, custody or control that
  25                  rightfully belong to Tianhai;
  26               G. A judgment directing Defendants to, within thirty (30) days after the entry
  27                  of the injunction, file with this Court and serve on Tianhai’s attorneys a
  28                  report in writing and under oath setting forth in detail the manner and

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   1                  form in which Defendants have complied with the injunction; and
   2               H. Any further relief, as permitted by law and as the Court may deem just
   3                  and appropriate.
   4
   5 DATED: March 10, 2023
   6                                           By:         /s/ B. Brett Heavner
   7                                                 B. Brett Heavner (admitted pro hac vice)
   8                                                 FINNEGAN, HENDERSON, FARABOW,
   9                                                 GARRETT & DUNNER, LLP
                                                     Morgan E. Smith (SBN 293503)
  10                                                 B. Brett Heavner (admitted pro hac vice)
                                                     Yinfei Wu (admitted pro hac vice)
  11
  12                                                 KENDALL BRILL & KELLY LLP
                                                     Alan Jay Weil (SBN 63153)
  13
  14                                                 Attorneys for Tianhai Lace Co., Ltd.,
                                                     Tianhai Lace (Guangdong) Ltd., and
  15
                                                     Tianhai Lace USA Inc
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                                         SECOND AMENDED COMPLAINT
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   1                                  DEMAND FOR JURY TRIAL
   2               Plaintiffs, Tianhai Lace Co., Ltd., Tianhai Lace (Guangdong) Ltd., and
   3 Tianhai Lace USA Inc. hereby demand a trial by jury of all issues so triable.
   4
   5 DATED: March 10, 2023
   6                                            By:         /s/ B. Brett Heavner
   7                                                  B. Brett Heavner (admitted pro hac vice)
   8                                                  FINNEGAN, HENDERSON, FARABOW,
   9                                                  GARRETT & DUNNER, LLP
                                                      Morgan E. Smith (SBN 293503)
  10                                                  B. Brett Heavner (admitted pro hac vice)
                                                      Yinfei Wu (admitted pro hac vice)
  11
  12                                                  KENDALL BRILL & KELLY LLP
                                                      Alan Jay Weil (SBN 63153)
  13
  14                                                  Attorneys for Tianhai Lace Co., Ltd.,
                                                      Tianhai Lace (Guangdong) Ltd., and
  15
                                                      Tianhai Lace USA Inc
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                                         SECOND AMENDED COMPLAINT
